       The following case in which the Court of Appeals issued a published opinion has been
appealed to the Supreme Court:

    1. Tevein Dewayne Harvey
        v. Commonwealth of Virginia
        Record No. 2037-14-2
        Opinion rendered by Judge McCullough on
        October 13, 2015
   The following cases in which the Court of Appeals issued published opinions have been
disposed of by the Supreme Court:

1. Jason N. Creamer
    v. Commonwealth of Virginia
   Record No. 0367-14-2
    Opinion rendered by Senior Judge Coleman
     on January 13, 2015
    Refused (150267)

2. James Edward Williams
    v. Commonwealth of Virginia
   Record No. 0700-14-2
    Opinion rendered by Judge Petty
     on January 20, 2015
    Refused (150296)


3. Morgan Sinclair Goodwin
   v. Commonwealth of Virginia
   Record No. 0190-14-3
   Opinion rendered by Judge Decker
    on February 3, 2015
   Refused (150364)

4. Darius Oneil Dalton
   v. Commonwealth of Virginia
   Record No. 2385-13-3
   Opinion rendered by Chief Judge Huff
    on March 31, 2015
   Refused (150625)
      The Supreme Court issued opinions in the following cases, which had been appealed
from this Court:

   1. Talmage Donnell Ricks
      v. Commonwealth of Virginia
      Record No. 0293-14-1
      CAV petition for appeal denied by Judge Petty on October 15, 2014
      Judgment of Court of Appeals affirmed by opinion rendered on November 12, 2015
      (141650)

   2. Edward Chilton, s/k/a, etc.
      v. Commonwealth of Virginia
      Record No. 1531-13-3
      Memorandum opinion rendered by Judge Petty on November 18, 2014
      Judgment of Court of Appeals affirmed by opinion rendered on November 12, 2015
      (141820)
